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outreach obligations on grantees to ensure all eligible individuals, including those at risk of
discrimination based on race, national origin, sex, or disability, are aware of and can access
HOPW4A-funded housing and services. 24 C.F.R. § 574.603. Finally, the regulations explicitly
define “family” in a manner inclusive of LGBTQ people, ensuring access to housing assistance
regardless of sexual orientation or gender identity. 24 C.F.R. § 574.3.

322. The Executive Orders violate these statutory and regulatory mandates. The
HOPWA and Ryan White programs are structured to remediate systemic inequities in healthcare
and housing, and executive orders that disregard these obligations contradict the express will of

Congress.

SEVENTH CLAIM FOR RELIEF
VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
(Contrary to Constitution, Excess of Statutory Authority, Arbitrary and Capricious)
(Plaintiff NUL as to Defendants Kennedy, Jr., Micone, Lutnick, Turner, Monarez, Bondi,
Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA, OMB,
and OFCCP)

(Plaintiff NFHA as to Defendants Turner, Bondi, Vought, Schloss, HUD, DOJ, OMB, and
OFCCP)

(Plaintiff AFC as to Defendants Kennedy, Jr., Turner, Espinosa, Monarez, Memoli,
Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ, OMB, and
OFCCP)

323. Plaintiffs repeat and incorporate by reference each and every allegation contained
in the preceding paragraphs as if fully set forth herein.

324. Plaintiffs bring this claim for relief under the provisions of the Administrative
Procedure Act, 5 U.S.C. §§ 701-706.

325. Defendant agencies have taken actions to eliminate DEJA programs and activities

without defining what types of programs and activities are banned as “DEI” or DEIA” and without

any prior determinations of their illegality.

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326. They have also banned “gender ideology,” a term created by the federal government
based on idiosyncratic and unscientific sex-based definitions.

327. Likewise, these agency actions cut off federal funding, through contracts or grants,
to any program or activity that is “DEI” or “DEIA”—or related to “DEI” or “DEJA”—without any
prior determination of (a) why they are considered to be “DEI” or “DEIA” or (b) why they are
illegal pursuant to criteria that is articulable, discernible, and publicly known.

328. They also cut off federal funding, through contracts or grants, to any program
activity that promotes “gender ideology,” a term created by the federal government based on
idiosyncratic and unscientific sex-based definitions.

329. The agencies’ actions in response to the unlawful Executive Orders constitute
agency actions that should be set aside for at least three reasons.

330. The agencies’ actions taken pursuant to the Executive Orders are contrary to
constitutional right, power, privilege, or immunity in violation of 5 U.S.C. § 706(2)(B), as more
particularly described Claims for Relief One, Two, Three, and Four, above.

331. The agencies’ actions taken pursuant to the Executive Orders are in excess of
statutory jurisdiction, authority, or limitations, or short of statutory right, in violation of 5 U.S.C.
§ 706(2)(C), as more particularly described in Claim for Relief Five, above.

332. The agencies’ actions are arbitrary and capricious, in violation of 5 U.S.C.
§ 706(2)(A), as more particularly described in Claim for Relief Two, above.

333. The Court should hold unlawful and set aside the actions of the agencies acting

pursuant to the Executive Orders,

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JURY TRIAL DEMAND

Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury on all

claims triable.

REQUEST FOR RELIEF

Plaintiffs respectfully request that the Court grant the following relief:

A. A declaration pursuant to 28 U.S.C. § 2201 that Executive Order Nos. 14151,
14168, and 14173 and any implementing agency actions are unlawful, unconstitutional, and
invalid.

B. A permanent injunction enjoining Defendants, their officials, agents, employees,
assigns, and all persons acting in concert or participating with them from implementing or
enforcing Executive Order Nos. 14151, 14168, and 14173, including without limitation the
promulgation of any rules or regulations, in any manner against Plaintiffs by way of contract,
subcontract, purchase order, grant, or sub-grant.

C. A permanent injunction mandating that Defendants permanently rescind all
agency-wide directives implementing and effectuating Executive Order Nos. 14151, 14168, and
14173 against Plaintiffs that were issued prior to this injunction.

D. A permanent injunction mandating that Defendants unwind, rescind, strike, modify,
or otherwise rectify contracts, subcontracts, agreements, and/or any other such binding documents
entered into with Plaintiffs, in which terms, clauses, or provisions have been inserted pursuant to
or in furtherance of Executive Order Nos. 14151, 14168, and 14173.

E. A permanent injunction mandating that Defendants provide notice of this injunction
to all Plaintiffs and their subcontractors, vendors, and/or sub-grantees for whom such terms,

clauses, or provisions have already been imposed.

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F; An order awarding Plaintiffs’ cost of suit and reasonable attorneys’ fees and

expenses, pursuant to any applicable law; and

G. Such other relief as this Court deems equitable, just, and proper.

Dated: February 19, 2025

Jin Hee Lee, DC Bar No. 1740850
Gabriel Diaz, DC Bar No. 991618
Donya Khadem, DC Bar No. 1719557*
Avatara Smith Carrington, DC Bar No.
90013196
NAACP LEGAL DEFENSE &
EDUCATIONAL FUND, INC.
700 14th Street NW, Suite 600
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(202) 682-1300
jlee@naacpldf.org
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dkhadem@naacpldf.org
acarrington@naacpldf.org

Leah Wong*

Alexsis Johnson*

NAACP LEGAL DEFENSE &
EDUCATIONAL FUND, INC.

40 Rector Street, 5th Floor

New York, NY 10006

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Camilla B. Taylor, DC Bar No. IL0098

Kenneth D. Upton, Jr., DC Bar No. 1658621

LAMBDA LEGAL DEFENSE AND
EDUCATION FUND, INC.

3656 North Halsted Street

Chicago, IL 60613

(312) 605-3225

ctaylor@lambdalegal.org

kupton@lambdalegal.org

100

Respectfully submitted,

Stacey K. Grigsby, DC Bar No. 491197
Sarah E. Harrington, DC Bar No. 219218*
Alison DiCiurcio, DC Bar No. 1601410*
COVINGTON & BURLING LLP

850 Tenth Street, NW

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Jose Idio Abrigo*

LAMBDA LEGAL DEFENSE AND
EDUCATION FUND, INC.

120 Wall Street, 19th Floor

New York, NY 10005

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jabrigo@lambdalegal.org

Pelecanos*

LAMBDA LEGAL DEFENSE AND
EDUCATION FUND, INC.

800 South Figueroa Street, Suite 1260

Los Angeles, CA 90017**

(323) 370-6909

pelecanos@lambdalegal.org

*Admission Pro Hac Vice forthcoming
**4ddress for mailing purposes only

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CIVIL COVER SHEET

JS-44 (Rev. 11/2020 DC)

L (a) PLAINTIFFS

National Urban League, National Fair Housing Alliance,
AIDS Foundation of Chicago

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFFO S888
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS
See Attachment A.

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT 11001
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

Jin Hee Lee
NAACP Legal Defense and

(©) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER)

Educational Fund, Inc.

700 14th Street NW, Suite 600, Washington, DC 20005
(212) 965-2200; jlee@naacpldf.org

ATTORNEYS (IF KNOWN)

(PLACE AN x IN ONEBOX ONLY)

O 3

1 U.S. Government
Plaintiff

© 2 US. Government
Defendant

© 4

II. BASIS OF JURISDICTION

(U.S. Government Not a Party)

Federal Question

Diversity
Undicate Citizenship of
Parties in item III)

Citizen of this State

Citizen of Another State

Citizen or Subject ofa
Foreign Country

IIL. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONEBOX FOR
PLAINTIFF ANDONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

Incorporated or Principal Place

PTF

O4

DFT

O4

of Business in This State

Incorporated and Principal Place O 5

O05

of Business in Another State

oO: O1
O2 O2
O;3 O:3

Foreign Nation

O« O«6

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

© A. Antitrust |O B.

[__]410 Antitrust

L_] 310
[1315
L_] 320
[] 330
[340
L_] 345
L_] 350
[] 355
[_] 360
L_] 362
LJ 365
[_] 367

L_] 368

Personal Injury/
Malpractice

Airplane

Airplane Product Liability
Assault, Libel & Slander
Federal Employers Liability
Marine

Marine Product Liability
Motor Vehicle

Motor Vehicle Product Liability
Other Personal Injury

Medical Malpractice

Product Liability

Health Care/Pharmaceutical
Personal Injury Product Liability
Asbestos Product Liability

© C. Administrative Agency

Review

[__] 151 Medicare Act

Social Security
[_] 861 HIA (1395ff)

[_] 862 Black Lung (923)
[_] 863 DIWC/DIWW (405(2))
[__] 864 SSID Title XVI

[_] 865 RSI (405(g))

Other Statutes

Cc] 891 Agricultural Acts

[_] 893 Environmental Matters
[_] 890 Other Statutory Actions (If

Administrative Agency is
Involved)

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(If Antitrust, then A governs)*

© E. General Civil (Other)

OR

© F. Pro Se General Civil

Real Property
LC] 210 Land Condemnation

Cc] 220 Foreclosure

LC] 230 Rent, Lease & Ejectment
CI 240 Torts to Land

[__]245 Tort Product Liability
[__]290 All Other Real Property

Personal Property
[__]370 Other Fraud

[1371 Truth in Lending

[1380 Other Personal Property
Damage

[1385 Property Damage
Product Liability

Bankruptcy
[__] 422 Appeal 28 USC 158

[_] 423 Withdrawal 28 USC 157

Prisoner Petitions
535 Death Penalty
540 Mandamus & Other
[1] 550 Civil Rights
CC] 555 Prison Conditions
CC 560 Civil Detainee — Conditions
of Confinement

Property Rights

L_] 820 Copyrights

[_] 830 Patent

Ea 835 Patent — Abbreviated New
Drug Application

CL] 840 Trademark

CL) 880 Defend Trade Secrets Act of
2016 (TSA)

Federal Tax Suits

[_] 870 Taxes (US plaintiff or
defendant)

[_] 871 IRS-Third Party 26 USC
7609

Forfeiture/Penalty
[__] 625 Drug Related Seizure of

Property 21 USC 881
[_] 690 Other

Other Statutes

[_] 375 False Claims Act

L_] 376 Qui Tam (31 USC
3729(a))

CL] 400 State Reapportionment

[_] 430 Banks & Banking

[_] 450 Commerce/ICC Rates/ete

[_] 460 Deportation

[_] 462 Naturalization
Application

[__] 465 Other Immigration Actions

[__] 470 Racketeer Influenced
& Corrupt Organization

CJ 480 Consumer Credit

LJ 485 Telephone Consumer
Protection Act (TCPA)

[_] 490 Cable/Satellite TV

[_] 850 Securities/Commodities/
Exchange

[_] 896 Arbitration

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[__] 950 Constitutionality of State
Statutes

[__] 890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

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© G. Habeas Corpus/
2255

[__] 530 Habeas Corpus — General

CLC] 510 Motion/Vacate Sentence

CJ 463 Habeas Corpus — Alien
Detainee

© H. Employment
Discrimination

[_] 442 Civil Rights — Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability, age,
religion, retaliation)

*(f pro se, select this deck)*

© I. FOIA/Privacy Act © J. Student Loan

CL] 895 Freedom of Information Act
CJ 890 Other Statutory Actions
(if Privacy Act)

LC] 152 Recovery of Defaulted
Student Loan
(excluding veterans)

*(If pro se, select this deck)*

© K. Labor/ERISA

© L. Other Civil Rights

© M. Contract O N. Three-Judge

(non-employment) (non-employment) Court
[_] 110 Insurance
CL] 710 Fair Labor Standards Act LJ 441 Voting (if not Voting Rights CL] 120 Marine CJ 441 Civil Rights — Voting
[_] 720 Labor/Mgmt. Relations Act) [J 130 Miller Act (if Voting Rights Act)
[__] 740 Labor Railway Act [__]443 Housing/Accommodations 140 Negotiable Instrument
[1751 Family and Medical 440 Other Civil Rights 150 Recovery of Overpayment
Leave Act [__]445 Americans w/Disabilities — & Enforcement of

LJ 790 Other Labor Litigation Employment Judgment
[_]791 Empl. Ret. Inc. Security Act [_]446 Americans w/Disabilities — C1153 Recovery of Overpayment
Other of Veteran’s Benefits
[1448 Education [_] 160 Stockholder’s Suits

CL] 190 Other Contracts
[_] 195 Contract Product Liability

Cc] 196 Franchise
V. ORIGIN
© 1 Original O 2 Removed oO 3 Remanded oO 4 Reinstated oO 5 Transferred O 6 Multi-district oO 7 Appeal to O 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation —
Court Court district (specify) from Mag. Direct File
Judge

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
Violations of the 1st and 5th Amendments to the U.S. Constitution and Administrative Procedure Act; ultra vires action

CHECKIF THIS IS A CLASS
ACTION UNDERE.R.CP. 23

VII. REQUESTED IN
COMPLAINT

DEMAND $
JURY DEMAND:

Check YES only if demanded in complaint
YES|X | No|

VII. RELATED CASE(S)
IF ANY

(See instruction) Ifyes, please complete related case form

YES [X | No [|

DATE: 2/19/2025 SIGNATURE OF ATTORNEY OF RECORD KI

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filmgs and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil coversheet. These tips coincide with the Roman Numerals on the cover sheet.

I. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiffis resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

Ii. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section IT.

Iv. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment ofa judge to your case will depend on the category you select that best
represents the primary cause of action found in your complaint. You may select only one category. You mustalso select one corresponding
nature of suit found underthe category of the case.

VI. CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

VIII. RELATED CASE(S), IF ANY: Ifyou indicated that there is a related case, you must complete a related case form, which may be obtained from

the Clerk’s Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.

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Attachment A

DONALD J. TRUMP, in his official capacity as
President of the United States

1600 Pennsylvania Avenue NW,

Washington, DC 20500;

OFFICE OF FEDERAL CONTRACT COMPLIANCE PROGRAMS,
U.S. Department of Labor

200 Constitution Avenue NW,

Washington, DC 20210;

MICHAEL SCHLOSS, in his official capacity as Acting Director of
Office of FEDERAL CONTRACT COMPLIANCE PROGRAMS
200 Constitution Avenue NW,

Washington, DC 20210;

OFFICE OF MANAGEMENT AND BUDGET,
725 17th Street NW,
Washington, DC 20503;

RUSSELL VOUGHT, in his official capacity as Director of the OFFICE
OF MANAGEMENT AND BUDGET

725 17th Street NW,

Washington, DC 20503;

U.S. DEPARTMENT OF LABOR,
200 Constitution Avenue NW,
Washington, DC 20210;

VINCE MICONE, in his official capacity as Acting Secretary of U.S.
DEPARTMENT OF LABOR

200 Constitution Avenue NW,

Washington, DC 20210;

U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
200 Independence Avenue SW,
Washington, DC 20201;

ROBERT F. KENNEDY, JR., in his official capacity as Secretary of
U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
200 Independence Avenue SW,

Washington, DC 20201;

U.S. DEPARTMENT OF COMMERCE,
1401 Constitution Avenue NW,

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Washington, DC 20230;

HOWARD LUTNICK, in his official capacity as Secretary of U.S.
DEPARTMENT OF COMMERCE

1401 Constitution Avenue NW,

Washington, DC 20230;

U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT,
451 7th Street SW,
Washington, DC 20410;

SCOTT TURNER, in his official capacity as Secretary of U.S.
DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
451 7th Street SW,

Washington, DC 20410;

U.S. DEPARTMENT OF AGRICULTURE,
1400 Independence Avenue SW,
Washington, DC 20250;

BROOKE ROLLINS, in her official capacity as Secretary of U.S.
DEPARTMENT OF AGRICULTURE

1400 Independence Avenue SW,

Washington, DC 20250;

NATIONAL INSTITUTES OF HEALTH,
9000 Rockville Pike,
Bethesda, MD 20892;

MATTHEW J. MEMOLIT, in his official capacity as Acting Director of
NATIONAL INSTITUTES OF HEALTH

9000 Rockville Pike,

Bethesda, MD 20892;

HEALTH RESOURCES AND SERVICES ADMINISTRATION,
5600 Fishers Lane,
Rockville, MD 20857;

THOMAS ENGELS, in his official capacity as the Administrator of
HEALTH RESOURCES AND SERVICES ADMINISTRATION
560 Fishers Lane,

Rockville, MD 20857;

CENTERS FOR DISEASE CONTROL,

1600 Clifton Road,
Atlanta, GA 30329;

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SUSAN MONAREZ, in her official capacity as Acting Director of
CENTERS FOR DISEASE CONTROL

1600 Clifton Road,

Atlanta, GA 30329;

ADMINISTRATION FOR COMMUNITY LIVING
330 C Street SW,
Washington, DC 20201;

RICK NICHOLLS, in his official capacity as Deputy Administrator and
Chief of Staff for ADMINISTRATION FOR COMMUNITY LIVING
330 C Street SW,

Washington, DC 20201;

U.S. ENVIRONMENTAL PROTECTION AGENCY
1200 Pennsylvania Avenue NW,
Washington, DC 20460;

LEE ZELDIN, in his official capacity as Administrator of the U.S.
ENVIRONMENTAL PROTECTION AGENCY

1200 Pennsylvania Avenue NW,

Washington, DC 20460;

U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Avenue NW,
Washington, DC 20530; and

PAMELA BONDI, in her official capacity as Attorney General of U.S.
DEPARTMENT OF JUSTICE

950 Pennsylvania Avenue NW,

Washington, DC 20530.

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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Administration For Community Living
330 C Street SW
Washington, DC 20201

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Rick Nicholls, in his official capacity as Deputy Administrator and Chief of Staff of
Administration For Community Living
330 C Street SW
Washington, DC 20201

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Pamela Bondi, in her official capacity as Attorney General of U.S. Department of
Justice
950 Pennsylvania Avenue NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297316
2:25-Cv- (2s? JRABEV-00H aie FiledcbMyenes-4 HGriledNaniisé245 29Fage Page 16 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297317
2:25-Cv- (2s? JRA V-00H die FiledcbMyeneS-5 HnriladNaniisé245 29Fage Page 17 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Centers For Disease Control
1600 Clifton Road
Atlanta, GA 30329

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297318
2:25-Cv- (2s? JRA V-00H die FiledcbMyeneS-5 GriladNaniise245 29Fage Page 18 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297319
2:25-Cv- (2s? JRA V-00H die Filedcb4yenes-6 HriladNaniisé245 29Fage Page 19 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Susan Monarez, in her official capacity as Acting Director of Centers For Disease
Control
1600 Clifton Road
Atlanta, GA 30329

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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2:25-Cv- (2s? JRA V-00H die Filedcb4yenes-6 HriladNhaniieé245 29Fage Page 20 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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2:25-Cv- (2s? JRA V-00M aie FiledcbMyenes-7 GriladNhaniieé245 29Fage Page 21 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Commerce
1401 Constitution Avenue NW
Washington, DC 20230

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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2:25-Cv- (2s? JRA V-00H aie Filedcb4yenes-7 GriladNhaniisé245 29Fage Page 22 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297323
2:25-Cv- (2s? JRA V-00M fe Filedcb4yenesS-8 HFriladNaniise245 29Fage Page 23 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Howard Lutnick, in his official capacity as Secretary of U.S. Department of Commerce
1401 Constitution Avenue NW
Washington, DC 20230

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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2:25-Cv- (2s JRA V-00M aie Filedcb4yen2s-8 HFriladNanisé245 29Fage Page 24 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Attorney's Office for the District of Columbia
c/o Civil Process Clerk
U.S. Attorney's Office for D.C.
601 D Street NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

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2:25-Cv- (2s? JRA V-00H aie Filedcb4yenes-9 HriladNhaniise25 29Fage Page 26 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297327
2:25-cv-Cas82LREGv-004te FileabOnhenya510 EihtitedNO2Abel2529-Page Ravfe227 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297328
2:25-cv-Cas82tREGv-004te FieabOnhenyas10 EihtitedNO2Abe2529-Page Ravfe228 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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2:25-cv-Cas82LREGv-004te FiebOnhenya511 EihtitedNO2Abe2529-Page Ravfe229 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Labor
200 Constitution Avenue NW
Washington, DC 20210

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297330
2:25-cv-Cas82LREGv-004te FileabOnhenya511 EihtitedNO2Abe2529-Page Ravfe230 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297331
2:25-cv-Cas82LREGv-004te FieabOnhenya512 EititedNO2Abei2529-Page Ravfe231 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Vince Micone, in his official capacity as Acting Secretary of U.S. Department of Labor
200 Constitution Avenue NW
Washington, DC 20210

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297332
2:25-cv-Cas82LREGv-004éte FieabOnhenya512 EihtitedNO2Abei2529-Page Ravfe232 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297333
2:25-cv-Cas82LREGv-004e FiIeabOnhenya513 EihtitedNO2Abel2529-Page Ravfe233 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Environmental Protection Agency
1200 Pennsylvania Avenue NW
Washington, DC 20460

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297334
2:25-cv-Cas82LREGv-004te FIeabOnhenya513 EihtitedNO2AbeI2529-Page Ravfe234 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297335
2:25-cv-Cas82LREGv-004te FileabOnhenya514 EihtitedNO2Abe2529-Page Ravfe235 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lee Zeldin, in his official capacity as Administrator of the U.S. Environmental
Protection Agency
1200 Pennsylvania Avenue NW
Washington, DC 20460

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297336
2:25-cv-Cas82LREGv-004te FileabOnhenya514 EihtitedNO2Abel2529-Page Ravfe236 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297337
2:25-cv-Cas82-LREGv-004te FiebOnhenya515 EihtitedNO2Abe2529-Page Ravfe237 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Health and Human Services
200 Independence Avenue SW
Washington, DC 20201

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297338
2:25-cv-Cas82LREGv-004te FiebOnhenya515 EihtitedNO2Abe2529-Page Ravfe238 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297339
2:25-cv-Cas82LREGv-004te FieabOnhenya516 EititedNO2Abe2529-Page Ravfe239 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Robert F. Kennedy, Jr., in his official capacity as Secretary of U.S. Department of
Health and Human Services
200 Independence Avenue SW
Washington, DC 20201

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297340
2:25-cv-Cas82LREGv-004te FileabOnhenva516 EihtitedNO2Abe2529-Page Ravfe240 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297341
2:25-cv-Cas82LREGv-004te FileabOnhenya517 EihtitedNO2Abe2529-Page Ravfe241 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Health Resources and Services Administration
5600 Fishers Lane
Rockville, MD 20857

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297342
2:25-cv-Cas82LREGv-004te FileabOnhenya517 EihtitedNO2Abel2529-Page Ravfe242 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297343
2:25-cv-Cas82LREGv-004te FIebOnhenyas18 EihtitedNO2Abei2529-Page Ravfe243 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Thomas Engels, in his official capacity as Administrator of Health Resources and
Services Administration
5600 Fishers Lane
Rockville, MD 20857

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297344
2:25-cv-Cas82LREGv-004te FiebOnhenya518 EihtitedNO2Abe2529-Page Ravfe244 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297345
2:25-cv-Cas82LREGv-004te FileabOnhenya519 EihtitedNO2Abe2529-Page Ranfe245 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Housing and Urban Development
451 7th Street SW
Washington, DC 20410

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297346
2:25-cv-Cas82LREGv-004te FieabOnhenya519 EihtitedNO2Abel2529-Page Ravfe246 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297347
2:25-cv-Cas82LREGv-004te FileabOnhenyas20 EihtitedNO2Abel2529-Page Ravfe247 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Scott Turner, in his official capacity as Secretary of U.S. Department of Housing and
Urban Development
451 7th Street SW
Washington, DC 20410

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297348
2:25-cv-Cas82LREGv-004te FieabOnhenyas20 EihtitedNO2Abe2529-Page Ravfe248 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297349
2:25-cv-Cas82LREGv-004te FileabOnhenya521 EihtitedNO2Abe2529-Page Ravfe249 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) National Institutes of Health
9000 Rockville Pike
Bethesda, MD 20892

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297350
2:25-cv-Cas82LREGv-004te FieabOnhenyas21 EititedNO2Abei2529-Page Ravfe250 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297351
2:25-cv-Cas82LREGv-004te FIeabOnhenyas22 EihtitedNO2Abei2529-Page Ravfe251 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Matthew J. Memoli, in his official capacity as Acting Director of National Institutes of
Health
9000 Rockville Pike
Bethesda, MD 20892

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297352
2:25-cv-Cas82LREGv-004te FIeabOnhenyas22 EihtitedNO2AbeI2529-Page Ravfe252 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297353
2:25-cv-Cas82LREGv-004te FIebOnhenyas23 EihtitedNO2Abei2529-Page Ravfe253 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Office of Federal Contract Compliance Programs
200 Constitution Avenue NW
Washington, DC 20210

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297354
2:25-cv-Cas82LREGv-004te FieabOnhenyas23 EihtitedNO2Abe2529-Page Ravfe254 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297355
2:25-cv-Cas82-REGv-004te FIeabOnhenyas24 EihtitedNO2Abe2529-Page Ravfe255 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Schloss, in his official capacity as Acting Director of Office of Federal Contract
Compliance Programs
200 Constitution Avenue NW
Washington, DC 20210

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297356
2:25-cv-Cas82LREGv-004te FieabOnenya524 EihtitedNO2Abel2529-Page Ravfe256 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297357
2:25-cv-Cas82LREGv-004te FIeabOnhenya525 EihtitedNO2Abei2529-Page Ravfe257 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Office of Management and Budget
New Executive Office Building, Room 9013
725 17th Street NW
Washington, DC 20503

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297358
2:25-cv-Cas82LREGv-004te FIeabOnhenyas25 EihtitedNO2Abe2529-Page Ravfe258 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297359
2:25-cv-Cas82LREGv-004te FileabOnhenyas26 EihtitedNO2AbeI2529-Page Ravfe259 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Russell Vought, in his official capacity as Director of Office of Management and Budget
New Executive Office Building, Room 9013
725 17th Street NW
Washington, DC 20503

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297360
2:25-cv-Cas82-REGv-004te FIeabOnhenyas26 EihtitedNO2Abe2529-Page Ravfe260 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297361
2:25-cv-Cas82LREGv-004te FIeabOnhenyas27 EihtitedNO2Abei2529-Page Ravfe261 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Donald J. Trump, in his official capacity as President of the United States
1600 Pennsylvania Avenue NW
Washington, DC 20500

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297362
2:25-cv-Cas82LREGv-004te FIeabOnhenyas27 EihtitedNO2Abe2529-Page Ravfe262 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297363
2:25-cv-Cas82LREGv-004te FebOnhenyas28 EihtitedNO2AbeI2529-Page Ravfe263 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Agriculture
Office of the General Counsel
1400 Independence Avenue SW
Washington, DC 20250

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297364
2:25-cv-Cas82LREGv-004te FIeabOnhenyas28 EihtitedNO2AbeI2529-Page Ravfe264 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297365
2:25-cv-Cas82LREGv-004te FieabOnhenyas29 EihtitedNO2Abe2529-Page Ravfe265 of 66

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia
NATIONAL URBAN LEAGUE, et al.,
)
)
Plaintiff(s) )
Vv. Civil Action No.
DONALD J. TRUMP, et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Brooke Rollins, in her official capacity as Secretary of U.S. Department of Agriculture
1400 Independence Avenue SW
Washington, DC 20250

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jin Hee Lee

NAACP Legal Defense and Educational Fund, Inc.
700 14th Street NW, Suite 600

Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

EPA_00297366
2:25-cv-Cas82LREGv-004te FileabOnhenyas29 EihtitedNO2AbeI2529-Page Ravfe266 of 66

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ; or

O IT left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

EPA_00297367
